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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                           )
 ENVIRONMENTAL INTEGRITY PROJECT, et al.,                  )
                                                           )
                Plaintiffs,                                )
                                                           )
        v.                                                 )
                                                           )    Civil Action No. 1:17-cv-1439-ABJ
 SCOTT PRUITT, Administrator, U.S. Environmental           )
 Protection Agency,                                        )
                                                           )   JUDGE AMY BERMAN JACKSON
                Defendant.                                 )
                                                           )
                                                           )

                  PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
       Pursuant to Rule 56 of the Federal Rules of Civil Procedure, the Environmental Integrity

Project, Sierra Club, Air Alliance Houston, and Texas Environmental Justice Advocacy Services

(collectively, “Plaintiffs”) hereby move for summary judgment on the claims asserted in their First

Consolidated Amended Complaint for the reasons presented in the attached Memorandum of

Points and Authorities in Support of Plaintiffs’ Motion for Summary Judgment, the attached

Statement of Material Facts as to Which There is no Genuine Issue, and the attached declarations

and exhibits. Plaintiffs respectfully request that the court grant their Motion for Summary

Judgment and enter judgment against the Defendant, the Administrator of the United States

Environmental Protection Agency, Scott Pruitt (“Administrator” or “EPA”).

       Plaintiffs filed this action to compel the Administrator to fulfill duties mandated by the

Clean Air Act, §§ 7401-7671q, to protect and enhance the quality of the Nation’s air resources and

welfare in communities within its borders. Through this Motion, Plaintiffs seek an order finding

that the Administrator has failed to perform his nondiscretionary duty under the Clean Air Act to

grant or deny Plaintiffs’ petitions to object to proposed Title V operating permits for ExxonMobil’s


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Baytown Olefins Plant and Refinery, Petrobras’s Pasadena Refinery, Motiva’s Port Arthur

Refinery, and Southwestern Electric Power Company’s Welsh Power Plant located in Texas.

Plaintiffs further request that the court order the Administrator to grant or deny each of their five

petitions no later than March 1, 2018.


       Respectfully submitted this 3rd day of November, 2017.


                                                      /s/ Adam Kron
                                                      ADAM KRON
                                                      D.C. Bar No. 992135
                                                      Environmental Integrity Project
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                                                      Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 3, 2017, I filed the foregoing Plaintiffs’ Motion for

Summary Judgment using the Court’s CM/ECF system, which will electronically serve all

counsel of record registered to use the CM/ECF system.



                                                            /s/ Adam Kron




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